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15
                           IN THE UNITED STATES DISTRICT COURT
16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
17

18     PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-05146-YGR-SVK
       themselves and all others similarly situated,
19
                                                       PLAINTIFFS’ REPLY IN SUPPORT OF
                              Plaintiffs,              MOTION TO STRIKE THE REPORT OF
20
                                                       ATTORNEY PAUL SCHWARTZ
              v.
21
       GOOGLE LLC,                                     Hr’g Date: May 31, 2022, 2PM PT
22
                              Defendant.               Courtroom: 1, 4th Floor
23

24                                                     Hon. Yvonne Gonzalez Rogers

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                                                                        Case No. 4:20-cv-05146-YGR-SVK
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 1    I.     INTRODUCTION
 2           The Schwartz Report (Dkt. No. 430-1 at Ex. 3) must be stricken. Google’s proffer of its
 3    own legal counsel as an expert, whether to provide legal opinions regarding California law in a
 4    California Court, or to challenge computer science theories and conclusions with no qualifications
 5    to do so (and without any evidentiary support), is improper.
 6           Rather than squarely addressing these issues, Google raises illusory legal barriers to
 7    preclusion. For instance, Google conflates Plaintiffs’ reference to Professor Schwartz’s prior
 8    writings on privacy law in their complaint (Opp. at p. 10) as a concession of expert admissibility.
 9    Such reasoning is wrong on the law and facts. While Professor Schwartz advanced privacy law
10    positions in the past that support Plaintiffs’ claims here, this does not mean that other, unrelated
11    legal opinions are automatically admissible as expert opinion. And indeed, when a professor of law
12    with no training in computer science nor in information theory offers an opinion regarding the use
13    of entropy in calculating the identifiability of data, it should come as no surprise that Plaintiffs
14    would challenge the report.
15           Google also incorrectly asserts that, at the class certification stage, the Court does not make
16    an ultimate determination on the admissibility of the expert’s opinion for purposes of a dispositive
17    motion or trial but, instead, may consider only whether the expert opinions are useful in evaluating
18    class certification requirements. Opp. at p. 4. But, as Google’s own citations acknowledge, the
19    proponent of the expert still must demonstrate the expert’s purported methodology “can meet any
20    of the articulated bases for acceptance under the Daubert standard.” Otto v. LeMahieu, No. 4:19-
21    CV-00054-YGR, 2021 WL 1615311, at *4 (N.D. Cal. Apr. 26, 2021). When a proffered expert,
22    like Professor Schwartz, “merely regurgitates information untethered to any methodology,” his
23    opinions should be excluded—even at the class certification stage. Id. at *5.
24    II.    ARGUMENT
             A.  Professor Schwartz Has Ethical Duties to Google as Google’s Counsel,
25
                 Rendering His Opinions Biased and Unreliable
26           It is more than a little shocking to see Google argue that Professor Schwartz owes no ethical
27    duties to Google. California-based Google does not deny that Paul Hastings LLP is one of Google’s
28    go-to law firms to represent its interests around the world. Google also does not deny that Professor

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 1    Schwartz is an attorney at that firm, in California. As such, prior to Google’s retention of Professor

 2    Schwartz in this matter as a purported expert, Professor Schwartz already owed undivided ethical

 3    duties to Google as a matter of California law. See Cal. State Bar Formal Opinion No. 2014-190,

 4    at 4 (“When a client retains a law firm, the client’s relationship generally extends to all attorneys

 5    in the firm”) (citing Cal. State Bar Formal Opinion No. 1981-64); id. at 4, fn. 8 (“[W]e do accept

 6    the basic premise that all attorneys in a law firm owe duties – including ethical duties – to each

 7    of the firm’s clients.”) (emphasis added); accord, PCO, Inc. v. Christensen, Miller, Fink, Jacobs,

 8    Glaser, Weil & Shapiro, LLP, 150 Cal. App. 4th 384, 392 (2007) (“Unless there is an agreement to

 9    the contrary, the retention of an attorney in a law firm constitutes the retention of the entire firm.”);

10    Streit v. Covington & Crowe, 82 Cal. App. 4th 441, 445 (2000) (“[B]y retaining a single attorney,

11    a client establishes an attorney-client relationship with any attorney who is a partner of or is

12    employed by the retained attorney.”); Redman v. Walters, 88 Cal. App. 3d 448, 453-455 (1979)

13    (partner who never had any contact with client was liable for malpractice of his partners).

14            Google ignores this binding California authority, and instead argues generally that retaining

15    an attorney solely as an expert does not itself create an attorney-client relationship, see Opp. at p.

16    5-6 (citing, inter alia, D.C. Bar Legal Ethics Comm., Op. 337 (2007)). But this is deflection:

17    Professor Schwartz already owed duties to Google prior to his retention in this matter, and thus

18    before he even put pen to paper on his report, he had an undeniable duty to Google. Whether or not

19    the retention of an attorney-expert creates an attorney-client relationship is irrelevant when the

20    retained attorney already owed duties to Google, as was the case here. 1

21            Google further attempts to deflect by arguing that Google retained Professor Schwartz as

22    an independent expert, not in his capacity as a Paul Hastings LLP attorney. But the capacity in

23    which Professor Schwartz was retained does not diminish Professor Schwartz’s pre-existing duties

24    to Google and the obvious conflict that arises thereafter. More importantly, Google did not retain

25    1
        Commonwealth Ins. Co. v. Stone Container Corp., 178 F. Supp. 2d 938 (N.D. Ill. 2011), Televisa,
      S.A. de C.V. v. Univision Comms., Inc., 635 F. Supp. 1106 (C.D. Cal. 2009), and D.C. Bar Legal
26    Ethics Comm., Op. 337 (2007) are all cited by Google for the proposition that “the role of an
      independent expert, even if performed by a lawyer, does not create an attorney-client or fiduciary
27    relationship.” Opp. at p. 5 (emphasis added). As discussed above, the issue here is not the creation
      of the relationship, but the existence of a pre-existing one. Professor Schwartz is not an independent
28    expert. He is an attorney for Google.
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 1    experts giving opinions on the law, which may differ from the instructions given by the judge,
 2    thereby becoming detrimental to the trial process. 2 Id.
 3           Here, Professor Schwartz’s report does just that. He opines extensively (and incorrectly)
 4    on a legal issue – whether the information at issue in this case constitutes “personal information.”
 5    If permitted, this testimony would usurp the role of the Court and cause confusion, rather than aid,
 6    the trier of fact. And he does so without any independent investigation of Google’s actual practices,
 7    blindly accepting Google’s representations at face value. This is nothing more than a recasting of
 8    Google’s own interpretation of its biased view of the facts to the law. For instance, Professor
 9    Schwartz opines that “Google’s existing policies and guidelines support the conclusion that the data
10    at issue is neither PII nor PI when Google does not link it to a Google Account and takes steps to
11    ensure it is not associated with an identified individual.” Schwartz Rep. at ¶ 67. He goes on to
12    2
        As Judge Shira Scheindlin succinctly noted more than twenty years ago, “[t]he rule prohibiting
      experts from providing their legal opinions or conclusions is ‘so well-established that it is often
13    deemed a basic premise or assumption of evidence law—a kind of axiomatic principle,” and she
      also observed that “every circuit has explicitly held that experts may not invade the court’s province
14    by testifying on issues of law.’” In re Initial Public Offering Securities Litigation, 174 F.Supp.2d
      61, 64–65 (S.D.N.Y. 2001) (emphasis added) (citing Thomas Baker, “The Impropriety of Expert
15    Witness Testimony on the Law,” 40 U. Kan. L.Rev. 325, 352 (1992)). Her observation remains
      true today; no Circuit permits what Google attempts to do here: have its outside counsel submit
16    legal advocacy cloaked as expert testimony. See U.S. v. Mikutowicz, 365 F.3d 65, 73 (1st Cir. 2004)
      (“expert testimony proffered solely to establish the meaning of a law is presumptively improper.”);
17    Crowley v. Perdue, 318 F.Supp.3d 277, 292 (D.D.C. 2018) (While “an expert may offer his opinion
      as to facts that, if found, would support a conclusion that the legal standard at issue was satisfied
18    … he may not testify as to whether the legal standard has been satisfied.”); Choi v. Tower Research
      Capital LLC, 2 F.4th 10, 20 (2d Cir. 2021) (“Expert testimony that usurps the role of the factfinder
19    or that serves principally to advance legal arguments should be excluded.”); M.S. by and through
      Hall v. Susquehanna Township School District, 969 F.3d 120, 129 (3d Cir. 2020) (“[A]n expert
20    witness is prohibited from rendering a legal opinion.”); U.S. v. Mallory, 988 F.3d 730, 741–742
      (4th Cir. 2021) (“[T]estimony [that] presents a legal conclusion informing the jury about how it
21    should apply the law … is prohibited.”); Renfroe v. Parker, 974 F.3d 594, 598 (5th Cir. 2020) cert.
      denied 141 S. Ct. 2519 (2021) (experts cannot “render conclusions of law” or provide opinions on
22    legal issues.); U.S. ex rel. American Systems Consulting, Inc. v. ManTech Advanced Systems Int’l.,
      600 Fed. Appx. 969, 979 (6th Cir. 2015) (excluding a report that “read like a ‘memorandum of
23    law’” because “legal conclusions … [are] properly excluded”); Select Comfort Corp. v. Baxter, 996
      F.3d 925 (8th Cir. 2021) cert. denied sub nom. Dires, LLC v. Select Comfort Corp., 142 S. Ct. 561
24    (2021) (“Expert’s testimony … should not usurp court’s role in defining law for jury.”); U.S. v.
      Tamman, 782 F.3d 543, 552 (9th Cir. 2015) (“an expert cannot testify to a matter of law amounting
25    to a legal conclusion”); U.S. Aviation Underwriters, Inc. v. Pilatus Business Aircraft, Ltd., 582 F.3d
      1131, 1150 (10th Cir. 2009) (“Expert witnesses may not testify as to ultimate issues of law
26    governing the jury’s deliberations, because instructing the jury is the function of the trial judge.”);
      Commodores Entertainment Corp., v. McClary, 879 F.3d 1114, 1128 (11th Cir. 2018) (experts
27    “may not testify to the legal implications of conduct”). With this rule, there is nothing in the
      Schwartz’s Report that is admissible.
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 1    surmise that:
 2           Google has implemented policies and taken certain steps to ensure that information
             that is not associated with a user’s Google Account is not linked nor reasonably
 3           linkable to a specific individual by Google. Moreover, Google’s Fingerprinting
             Policy prevents certain steps by Google employees that might increase the
 4
             identifiability of certain information. Here, we also see the same principles as are
 5           also present in the information privacy standards that this Expert Opinion has
             examined above, namely the ALI Data Privacy Principles, the FTC Staff Report,
 6           and the CCPA. These standards require consideration of what companies permit
             and do not permit with personal data….
 7
      Schwartz Rep. at ¶ 68-69 (emphasis added); see also Schwartz Rep. at ¶ 46 (“Dr. Shafiq’s theories
 8
      of PI and PII are inconsistent with the ALI Data Privacy Principles.”); Schwartz Rep. at ¶ 47 (“Dr.
 9
      Shafiq’s theory is also fundamentally inconsistent with the two definitions of PI used in the
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      CCPA.”); Schwartz Rep. at ¶ 49 (“Based on Dr. Shafiq’s description of the data at issue, none of
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      the data at issue falls under this CCPA definition.”). 3 Professor Schwartz is not challenging the
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      facts of Professor Shafiq’s work; he is applying those facts to law. These examples highlight the
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      inadmissibility of Schwartz’s opinions, which are nothing more than thinly veiled legal conclusions
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      that the information held by Google cannot be considered personal information.
15
             The danger of an expert being permitted to educate the factfinder on legal standards and the
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      applications of those standards is heightened when the expert is an attorney. See, e.g., Vargas v.
17
      City of Los Angeles, No. 216CV08684SVWAFM, 2020 WL 10789578, at *9 (C.D. Cal. Feb. 18,
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      2020) (“As an ‘expert lawyer,’ there was a significant risk that the testimony [this expert] would
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      have provided would have been interpreted by the jury as expert legal conclusions on the very
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      issues that formed the basis for this Trial”). The opinions of Professor Schwartz should be excluded
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      as improper legal conclusions. 4
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23    3
        Not only do Professor Schwartz’s opinions include improper legal conclusions, those legal
      conclusions are based on inaccurate information. As detailed in Plaintiffs’ original motion, his
24    opinions are contradicted by Google’s own documents. See Mot. at p. 10-14.
      4
25      Google cites to Corbrus, LLC v. 8th Bridge Capital, Inc., seemingly to argue that Professor
      Schwartz’s testimony is permissible to aid the jury in the understanding of the definition of personal
26    information. See Opp. at p. 14. But this assertion is belied by the substance of the report. Professor
      Schwartz’s opinions do nothing to aid the factfinder on a question of fact. Instead, he attempts to
27    substitute his judgment for the factfinder by telling the factfinder exactly what constitutes “personal
      information” and “personally identifiable information” under the law and that the information
28    Google holds cannot be considered personal information.

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             C.      Google Concedes that Professor Schwartz is Not a Computer Science Expert
 1                   and His Opinions that Relate to Google’s Technology are Not Reliable
 2           Google contends that the “vast majority of Plaintiffs’ arguments are actually disagreements
 3    with [Schwartz’s] conclusions, not his methods.” Opp. at p. 7. Not So. While Plaintiffs do, indeed,
 4    disagree with Professor Schwartz’s legal opinions, it is his lack of qualifications in the area of
 5    computer science and his lack of methodology (let alone a reliable one) that render his opinions
 6    unreliable.
 7           Google’s opposition concedes that Professor Schwartz is not a computer science expert.
 8    And yet, without knowledge or background in the area of computer science, Professor Schwartz
 9    uses his status as a purported “information privacy expert” (Opp. at p. 10) to challenge Professor
10    Shafiq’s 32-bit entropy theory and deem it to be “overinclusive” (Opp. at p. 13). He labels Professor
11    Shafiq’s method as a “fixed mathematical redline” incompatible with information privacy
12    guidelines. Schwartz Rep. at ¶ 27. If he was, in reality, qualified in the area of computer science,
13    Professor Schwartz would be well aware that the methodology utilized by Professor Shafiq is
14    commonplace in the industry. See Dkt. No. 340-19, Shafiq Rep. at ¶ 23. In fact, Google utilizes
15    similar methods in its own regular business practices, as detailed in Plaintiffs’ original motion to
16    strike. See Mot. at p. 2 (citing, inter alia, Google’s YouTube video explaining entropy consistent
17    with Professor Shafiq’s opinions).
18           Compounding Professor Schwartz’s lack of qualifications as a computer science expert,
19    Professor Schwartz failed to carry out any independent fact finding at Google. Google argues that
20    this is because “his expert analysis at class certification was focused on whether ‘[PI] and
21    information privacy standards in the [U.S.] looks to context and circumstances and not to Professor
22    Shafiq’s approach.’” Opp. at p. 9. But “context and circumstances” is a factual inquiry, and
23    Professor Schwartz himself admits that “[f]act-intensive considerations” are required to determine
24    whether data is PII. See Schwartz Rep. at ¶ 61. Yet Professor Schwartz’s report is devoid of any
25    factual inquiry. Rather, and as set forth in Plaintiffs’ moving brief, Professor Schwartz blindly
26    accepted factual assertions from his client, Google, when evidence clearly pointed to the contrary.
27    See, e.g., Mot. at p. 10-14 (citing to Google documents and deposition testimonies that clearly
28    contract Professor Schwartz’s conclusions). Furthermore, Professor Schwartz’s employs no
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 1    methodology for his opinions. Google concedes as much, acknowledging that Professor Schwartz
 2    is merely providing a review of information privacy standards in the United States. Indeed, the
 3    report offers nothing more than a recitation of legal definitions, which is not helpful to the
 4    factfinder. See Otto v. LeMahieu, No. 4:19-CV-00054-YGR, 2021 WL 1615311, at *5 (N.D. Cal.
 5    Apr. 26, 2021) (“[This expert]'s opinions do not add anything where he merely regurgitates
 6    information untethered to any methodology and is otherwise speculative. This is exactly the type
 7    of testimony that fails under the Daubert standard—even at the class certification stage.”).
 8    Professor’s Schwartz’s opinions challenging Professor Shafiq’s findings should be excluded.
 9            D.         Professor Schwartz’s Opinions Contradict the Court’s Rulings and are Based
                         on an Outdated FTC Regulation
10
              As explained more fully in Plaintiffs’ motion, Professor Schwartz’s report contradicts Judge
11
      Koh’s ruling in this case and includes critical misstatements of legal authorities. Google contends
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      that “Judge Koh’s determinations at the pleading stage have no bearing on the reliability of
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      Professor Schwartz’s rebuttal to Professor Shafiq’s theories.” Opp. at p. 13. This is categorically
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      incorrect. Judges create legal precedent with their rulings and opinions. Judge Koh clearly and
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      accurately outlined the law and the application of the law to the facts in this case. By submitting an
16
      expert report contradicting Judge Koh’s rulings, Google attempts to supplant its expert’s authority
17
      for the Judge. 5
18
              As for Professor Schwartz’s critical mistake of citing obsolete law (the outdated version of
19
      “The Children’s Online Privacy Protection Act”), Google argues that the provision is only “offered
20
      as support for Professor Schwartz’s opinion that under U.S. information privacy standards, ‘[t]he
21
      identifiability of data is not to be determined as an abstract or fixed matter.’” Opp. at p. 14. But it
22
      is this obsolete law, a law that was reversed in 2013 based on changes in technology, that Professor
23
      Schwartz primarily relies upon in his report. As explained more fully in Plaintiffs’ motion, the
24
      current version of the law contradicts Professor Schwartz’s conclusions and renders his opinions
25
      5
        Whether Google’s objective here is to overtly supplant judicial authority, or subversively obtain
26    reconsideration of Judge Koh’s prior ruling, its tactics and abuse of the expert process – submitting
      legal conclusions and opinions from, effectively, its own counsel – is improper and a needless waste
27    of judicial resources.
28
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 1    unreliable. 6
 2    III.      CONCLUSION
 3              For the reasons stated in this brief and Plaintiffs previously filed Motion to Strike, Plaintiffs
 4    respectfully request that the report of Professor Schwartz be stricken in full.
 5              RESPECTFULLY SUBMITTED AND DATED this 21st day of April 2022.
 6

 7        BLEICHMAR FONTI & AULD LLP                           DICELLO LEVITT GUTZLER LLC

 8
                                                               /s/ David A. Straite
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        Further, the sum total of Professor Schwartz’s purported methodology is to review information
      privacy standards in the U.S. (Schwartz Rep. at ¶ 19 (“Where I discuss my understanding of
27    information privacy principles, regulations, FTC guidance, and existing laws in this report, it is to
      provide context for my opinions….”) and he has failed at even that, citing to outdated law.
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                                                           8                   Case No. 4:20-cv-05146-YGR-SVK
                  PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO STRIKE PROF. PAUL SCHWARTZ
     Case 4:20-cv-05146-YGR        Document 627-1         Filed 04/21/22     Page 13 of 13


                                      CERTIFICATE OF SERVICE
 1
             I hereby certify that on April 21, 2022, I electronically filed the foregoing document using
 2
      the CM/ECF system which will send notification of such filing to the e-mail addresses registered
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 4
                                                              /s/ Jay Barnes
 5                                                            Jay Barnes
                                                              Simmons Hanly Conroy
 6
                                                              Attorney for Plaintiffs
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